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' i. lvC_:_a_se 1:18-cr-10391-RGS Document 33 Filed 11/28/18 Page 1 of 6

STATES DISTRICT COURT

. ' 1 : 1 DIST_RICT oF MAssAcHUsETT
‘UNITED sTATEs oF AMERICA
vt ' ' v .: 7 DocKETNo:1:18-cR-10391-RGS
' v DEREK'sHEEHAN

ar

DEFENDANT’S MOTION FOR REVOCATION OR AMENDMENT

oF oRDER oF DETENTION AND REQUEST FoR RELEASE oN coNDlTIoNs

 

Now comes the defendant through counsel and pursuant to Title 18 U.S.C. § 3145, respectfully
requests that the Court review the detention order of the Magistrate Judge issued in this case after a
`{,' hearing on November 13, 2018§ and enter an order releasing him pursuant to conditions. The defendant
£c'\<'. proposes certain conditions below. The undersigned submits that these conditions are sufficient to ensure
3 Mr. Sheehan’s appearance at future Court hearings, events and a possible trial in this case; and

sufficiently address the statutory rebuttable presumptions of risk of flight and danger to the community.
n 'Prior'Proceedings:

The defendant was charged with sexual exploitation of a child in violation of 18 U.S.C. § 2251 in

v bail in state custody on those charges. On October 25, 2018, the defendant was indicted and charged with

§ l September, 201‘8. He was previously the subject of related state court charges and has been held without
three counts of sexual exploitation of a child in violation of 18 U.S.C. § 2251(a) and (e). The government ‘

l - § g moved for detention and the Court held a detention hearing on November 13, '2018. The Court ordered
C_\ the defendant detained and explained the reasons in a written decision (see attached Order of Detention
x '

Pending Trial). While the defendant remains in state custody on the related state court charges; a U`.S.

Marshal detainer has been issued by the United States District Court. '

